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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


 TQ DELTA, LLC,
                                                     Civil Action No.: 2:21-cv-310
                             Plaintiff,

 v.

 COMMSCOPE HOLDING COMPANY,
 INC., COMMSCOPE, INC., ARRIS US
 HOLDINGS, INC., ARRIS SOLUTIONS,
 INC., ARRIS TECHNOLOGY, INC., and
 ARRIS ENTERPRISES, LLC,

                             Defendants.


 DECLARATION OF JAMES D. SHEAD IN SUPPORT OF DEFENDANTS’ OPPOSED
     MOTION TO TRANSFER VENUE TO THE DISTRICT OF DELAWARE

        I, James D. Shead, declare and state as follows:

        1.     I am Lead Counsel – Litigation at CommScope Technologies, LLC. I have

knowledge of the facts set forth herein, and if called to do so, could competently testify to them.

I submit this declaration in support of Defendants’ Opposed Motion to Transfer Venue to the

District of Delaware.

        2.     CommScope is a global provider of infrastructure solutions for both wired and

wireless broadband networks. CommScope has approximately 33,900 employees worldwide.

        3.     CommScope has a facility in Richardson, Texas. As of the beginning of

November 2021, 272 employees and 6 independent contractors were assigned to that facility.

None of the employees or independent contractors at the Richardson facility are involved in the

design or development of DSL products, including, in particular, the accused products in this

case.



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       4.      The CommScope witnesses likely to have knowledge of the design or

development of DSL products include: a Senior VP of Home Networks, a VP of Product

Management, a Senior Director of Software Engineering, and a VP of R&D Engineering residing

in Georgia; a VP of Finance – Home Networks residing in Pennsylvania; a Director of Software

Engineering and a Principal Software Engineer residing in California; and a Senior Manager of

Software Engineering residing in Austin, Texas.

       5.      CommScope’s relevant documents and physical evidence are located with these

witnesses in Georgia, Pennsylvania, California, and Austin, Texas. CommScope does not

maintain any documents related to the accused products, or otherwise relevant to this case, in the

Eastern District of Texas.



       I declare under penalty of perjury that, to the best of my knowledge, the foregoing is true

and correct.

Dated: November __, 2021                             By:            ___________________
                                                                    James D. Shea d




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